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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

       Plaintiff,                           Civil Action No. 1:17-cv-02511 (RJL)

  v.                                        REDACTED

AT&T INC., DIRECTV GROUP HOLDINGS,
LLC, and TIME WARNER, INC.,

       Defendants.



                     POST-TRIAL BRIEF OF THE UNITED STATES
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       The Turner channels are carried by nearly every MVPD to nearly every cable and

satellite customer in the country. For good reason—Turner has content customers want to watch

live, so its channels are something MVPDs need to have. As one distributor summarized, “I can’t

not have … the Turner networks.” Tr. 1404:14–15. The merger of AT&T and Time Warner

would give the nation’s largest MVPD the power to control its rivals’ access to that content. The

merged firm would exploit its newfound power in carriage negotiations with current and would-

be MVPD competitors to the detriment of competition and consumers.

       All negotiations have elements of kabuki theater, with both sides posturing as they fight

 for terms. The real-world implications of not reaching a deal, however, determine each side’s

 leverage and, ultimately, the bargain they strike. Even catastrophic alternatives define high-

 stakes negotiations: in the Cold War, the most destructive weapons were never used, yet the

 arsenals and defenses available to each side undeniably influenced every negotiation between

 East and West. Leverage matters in video content negotiations because millions of dollars

 change hands depending on who blinks first. As Turner executives testified, these negotiations

 are “trench warfare,” Tr. 559:10–23, and in recent years “Turner has gotten close to going dark

 with every major distributor,” even over “a single penny” that it eventually won, Tr. 1033:8–14.

       That’s today. Tomorrow, if AT&T acquired Time Warner, Turner’s leverage would

 increase because it would have the nation’s largest MVPD with it in the trenches. The

 alternative to an agreement in every negotiation with a rival MVPD would be better for the

 merged firm because without a deal, DirecTV would steal valuable video subscribers away

 from that rival. Moreover, a combined AT&T-Time Warner would benefit from weakening

 DirecTV’s competition in ways that Turner alone did not and could not. With new bargaining

 leverage and new incentives to hinder DirecTV’s rivals, Turner would press for and win terms

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that harm competition.

      Although AT&T executives denied this ability and incentive to raise rivals’ costs when

they were on the witness stand, AT&T and DirecTV have advocated this view of the industry

since at least 2010, when the FCC has considered instances of vertical integration between an

MVPD and a content provider. See PX0001-083; PX0441-005; PX0443-079; PX0467-313. In

reliance on DirecTV’s assertions to that effect, the FCC held in its Comcast/NBCU Order that

vertical integration would affect bargaining outcomes: “Unlike the pre-transaction NBCU, the

integrated firm will take into account the possibility that any harm from failure or delay in

reaching agreement would be offset to some extent by a benefit to Comcast.” In re Applications

of Comcast Corp., et al., 26 F.C.C. Rcd. 4238 ¶ 37 (2011). Defendants’ own economists

endorsed this well-accepted bargaining model, quibbling instead with how much leverage

would be gained and how it would apply to an arbitration offer defendants made with their

Answer. Tr. 2461:4–18, 2407:16–19, 2695:16–19, 2750:16-19, 2825:15-22.

      Defendants responded to this lawsuit with 1,000 half-baked letters unilaterally offering to

arbitrate price increases because they know full well they would be able to raise their

distribution rivals’ costs post-merger. So they sought to try to recreate, as a remedy, an element

of past regulatory remedies that the FCC found necessary in every recent instance of vertical

integration. See Comcast/NBCU Order, ¶ 35 (summarizing same finding in prior proceedings).

But a self-imposed remedy is no remedy at all—it does not replace the preferred free-market

competition envisioned by the Clayton Act. Even more importantly, arbitration would not solve

the problem in this case. Never before has the country faced a merger involving the largest

video distributor acquiring content its rivals need, with a nationwide footprint that would

provide no benchmarks for arbitration. And never before have the United States and the Court

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    been left without the assistance of the FCC to craft, impose, and supervise behavioral

    conditions. Moreover, such a remedy would not address the threat to competition from AT&T’s

    control over HBO and the increased likelihood of coordination with Comcast/NBCU.

    Accordingly, after concluding this merger violates Section 7 of the Clayton Act, the Court

    should impose a market-based structural remedy to prevent its anticompetitive effects.

                                                * * * * *

          Section 7 “subjects mergers to searching scrutiny,” California v. Am. Stores Co., 495

    U.S. 271, 285 (1990), and reaches “incipient” harms, Brown Shoe Co. v. United States, 370

    U.S. 294, 318 n.32 (1962). For that reason, and to ensure it is not American consumers who

    bear the risk of such a transaction, the legal standard for Section 7 liability is not “convincing

    proof…that this merger will substantially lessen competition,” as defendants’ counsel Mr.

    Petrocelli misleadingly argued at closing. Tr. 4026:20–22. Rather, the term “may be” in the

    statute requires only “a reasonable probability,” United States v. Penn-Olin Chem. Co., 378

    U.S. 158, 175 (1964), or “an appreciable danger,” United States v. H&R Block, Inc., 833 F.

    Supp. 2d 36, 49 (D.D.C. 2011) (quotation omitted), of harm to competition. The evidence

    presented at trial meets that standard. 1

          AT&T’s proposed acquisition of Time Warner would harm competition by marrying the

    incentive and the ability to use Time Warner content to raise prices and stifle innovation,

    creating a “reasonable probability” of harm in violation of Section 7. Indeed, this is the same

    theory on which the United States determined the Comcast/NBCU transaction violated Section

    7. Complaint, United States v. Comcast Corp., No. 1:11-cv-00106-RJL (D.D.C. Jan. 18, 2011).


1
 The position of the United States is set out fully in its Proposed Conclusions of Law (PCOL)
and Proposed Findings of Fact (PFOF). Citations to relevant sections appear throughout.
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      AT&T has the incentive to lessen competition. It recently purchased and now owns

DirecTV, the nation’s largest MVPD, and has an economic interest in weakening the

competition DirecTV faces. It also has a significant interest in forestalling the competitive

threat that innovative online rivals pose to its business model of selling the pay-TV “bundle,”

which has been a “cash cow” for DirecTV. Tr. 1733:13–18. AT&T executives scorn

programmers that license their content to lower-cost, innovative entrants for “going around us,”

PX0047, and they are anxious to protect this current business model—the “golden goose,” Tr.

1801:15–1802:17—from more pro-consumer competition.

      With this merger, AT&T would gain a new ability to act on these incentives. No longer

would it be limited to writing letters complaining when threatened by an innovation that “[s]ets

[it] on fire.” PX0228. It would own Time Warner, which controls highly valuable content that

MVPDs and virtual MVPDs “must have” in order to compete, including Turner’s marquee

sporting events on TBS and TNT, a leading 24-hour news network (CNN), and the leading

premium network (HBO). Post-merger, AT&T would be positioned to use that content as a

weapon against DirecTV’s rivals, by raising its price, restricting its use, or coordinating to deny

it outright to nascent innovative online competitors.

       Unmatched Time Warner Content. MVPDs and virtual MVPDs need Time Warner

content to compete effectively. Turner offers networks, including TBS, TNT, and CNN, widely

described as “must have.” Mr. Schlichting, who runs Dish’s consumer-friendly Sling and

acquires all of Dish’s content, considers Turner content “must have” because “if you don’t have

March Madness you’re not in the pay-TV business,” and because CNN has “a huge amount of

viewing.” Tr. 242:8–15, 245:13–23. Mr. Hinson, a Cox executive, believes it would be “very

difficult” to compete without Turner networks because Cox “wouldn’t have a level playing

                                                4
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field,” and customers “would go somewhere else.” Tr. 697:2–19.

      Whether Turner content is labelled “must have” or not, however, the evidence

overwhelmingly shows that it is competitively significant. Almost all of AT&T’s rivals carry

Turner content, and nearly every pay-TV subscriber—approximately        %—receives Turner

content. PX0008-036; Tr. 3078:4–16. Turner’s TBS and TNT networks are among the top-rated

general entertainment networks. Tr. 524:1–9; PX0153-002-003; PX0008-035. Turner content

commands superior affiliate fees compared to its peers, and its fees and margins have increased

year after year. Tr. 528:6–529:5. Turner secured rate increases of   % in 2016 and 2017, and it

expects an additional % rate increase every year through        . PX0123-009; Tr. 995:18–

997:16. As Professor Shapiro explained, the price Turner content commands is one of the best

indicia of its competitive significance. Tr. 2239:10–17.

      Turner’s marquee sports programming is particularly important to distributors. In

addition to owning rights to MLB playoff games and major PGA events, Turner pays billions of

dollars annually for the rights to NBA games and NCAA’s March Madness. Tr. 530:5–13,

543:15–544:25. These events are “must have sports” in Cox’s view, Tr. 694:1–695:16, and

“very valuable sport programming content,” especially during March Madness, in Cable One’s

judgment, Tr. 2112:17–20. As Turner’s CEO Mr. Martin told his Board, this “[t]op-tier sports

programming has been and will continue to be a key factor in allowing [Turner] networks to

receive the highest subscription rates.” PX0020-0005; Tr. 541:6–10. Turner will retain this

competitive leverage for years to come, as it controls MLB rights through 2021, NBA rights

through 2025, and NCAA rights through 2032. DX640.0041; Tr. 548:20–549:2.

      There is also no doubt about the value of HBO. It “sets the gold standard in premium

video,” in Mr. Bewkes’ words. PX0459-010.

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                                                               . See PFOF at ¶ 28. It has

    compelling original series and shows recently released blockbusters from multiple movie

    studios. Tr. 1452:20–22, 1453:12–25. In AT&T’s words, HBO has the “[b]est brand

    name” and the “[o]verall best collection of content.” Tr. 1521:11–19; PX0010-A-004.

          Defendants try to downplay the importance of Time Warner content. That does not

    square with the purchase price of $108 billion; nor with Mr. Stephenson’s statement to his

    Board that Time Warner was the                                                     DX0609-

    0012; nor with Mr. Martin’s statements that Turner has content that is “unmatched in terms of

    consumer demand and live viewership, driving on-going value to distributors and advertisers,”

    PX0021; Tr. 545:11–24. It is also contradicted by the fact that, contrary to defendants’

    allegation that the launch of YouTube TV without Turner content “disproves” its importance,

    Answer ¶ 5, YouTube was “anxious to add Turner” Tr. 1172:13–1173:10, and recently reached

    an agreement to carry Turner content. Tr. 1848:17–1849:16. 2

          What makes this merger different from most other vertical mergers, and creates a grave

    threat to competition and consumers, is that there is nowhere else a distributor can go for Time

    Warner content. Distributors don’t just want this specific input to compete effectively, they

    truly need it.

          End of Time Warner’s Agnosticism. Today, the competitive reality is that Time Warner

    has no incentive to favor one distributor over another. It has an incentive to achieve wide

    distribution, and it licenses its content to a broad spectrum of distributors including emerging

    virtual MVPDs. It works cooperatively with a variety of distributors, e.g., advising them on



2
    See PCOL at IV.E, V.C-E; PFOF at V.A.2.
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how to use HBO to win and retain subscribers.

      In AT&T’s hands, Time Warner’s economic calculus would change. AT&T would not

want Time Warner content distributed in ways that increase competitive pressure on DirecTV.

For example, when Time Warner acquired a stake in Hulu and Turner agreed to license content

to Hulu for its new virtual MVPD service, Mr. Stephenson told Mr. Bewkes that he viewed the

decision as “going around us,” and threatened that it was “hard to imagine how it won’t impact

all of our relationships.” PX0047. Post-merger, Time Warner would no longer be agnostic

toward its rival distributors. Its economic incentives would be dramatically changed. Indeed, in

notes prepared for a presentation to his Board, Mr. Stephenson pinpointed as one of two “Key

issues” concerning the merger “[h]ow can you advantage your own distribution … without

harming TW position as a wide distributor of content.” Tr. 3487:8–14; DX0609-008. As

detailed in the following sections, Time Warner could act in at least three, mutually reinforcing,

ways to “advantage” DirecTV to the detriment of competition and consumers.

      Raising Rivals’ and Consumers’ Costs. The merger would increase Time Warner’s

bargaining leverage; that increase would lead AT&T’s rivals to pay more for Time Warner

content; and those rivals would pass their higher costs on to consumers. Defendants decry this

theory as “absurd” or “made-up”—something “[n]ot one person in the business thinks,” Tr.

4043:2–5—but those assertions make a mockery of the judicial system. Defendants have

asserted the exact opposite position to obtain favorable results before the FCC. Accordingly,

defendants should be judicially estopped from denying that the change in bargaining leverage

from vertical integration in this industry will enable the sort of harm the United States asserts.

See PCOL VI.A. In any event, the testimony of industry participants, standard and widely

recognized economic principles of bargaining, and economic modeling, as well as defendants’

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    own documents and testimony, all show that this merger threatens this harm.

          Industry witnesses explained how the merger would increase Time Warner’s leverage

    over distributors. Ms. Fenwick, Cox’s negotiator, explained that, with the merger, “the leverage

    changes” because “AT&T has a different incentive now than they had before,” and Cox knows

    that “if we don’t agree to [AT&T’s terms], we’re in a position where we are going to lose

    customers … and that they’re going to pick them up and grow their market share.” Tr. 108:5–

    18. Mr. Montemagno, Charter’s chief negotiator, testified that Charter is concerned about price

    increases and the loss of access to “critically important content,” Tr. 1350:4–18, because

    “[e]ither I pay excessive increases or I lose the product and they have a more competitive

    distribution profile,” Tr. 1352:1–3. Dish’s Mr. Schlichting testified that Turner is a “really

    important supplier” that is “teaming up with our biggest adversary,” which would “throw[] the

    card table up in the air” because “all of the incentives change at that stage.” Tr. 261:12–262:6. 3

          Professor Shapiro’s economic analysis framed this direct industry evidence. First, he

    explained that a party’s bargaining leverage depends, in part, on its alternatives to a deal. Here,

    the fact that DirecTV would capture subscribers from a distributor that would not have Turner

    increases Turner’s bargaining leverage. As Ms. Fenwick explained, Cox will “have to think

    about that if we do go dark, they have a benefit in picking up Cox customers,” and would

    “know going into these negotiations [with Turner] that that additional leverage is there.” Tr.

    107:6–24. With this new power to use as a weapon, the combined AT&T-Time Warner’s offer




3
  At closing argument, Mr. Petrocelli derided the concerns of these industry participants because
they compete with DirecTV in addition to purchasing content from Turner, see Tr. 4034:3–10,
yet, importantly, defendants did not elicit testimony from these witnesses to suggest that they
worried that the merger would make AT&T’s product more competitive.
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    to distributors would be like an “offer [they] can’t refuse.” 4

          Second, Professor Shapiro estimated the price increases using a bargaining model “very

    similar” to the one relied on by the FCC in its review of the Comcast/NBCU merger. Tr.

    2390:12–16. The model “is as simple as possible, while still capturing the fundamental

    economic forces that are in play here to analyze the likely effects of this merger.” Tr. 3800:5–

    18. Using conservative inputs reflecting industry realities, Professor Shapiro estimated fee

    increases for Turner content to AT&T’s rivals of over $580 million a year, representing a

    double-digit percentage increase. See Tr. 2206:4–12, 2206:22–2207:10–16. After crediting

    defendants with elimination of double marginalization, he estimated a range of net annual cost

    increases of $235 million on the low end and $561 million on the high end. Tr. 2253:4–12,

    3919:6–14, 3920:5–16. Even using an average of 2017 data to calculate margins, Professor

    Shapiro estimated that the range of likely annual net MVPD cost increases would be between

    $98 million on the low end and $348 million on the high end. Tr. 3850:6–22, 3920:17–3921:7.

          The testimony of industry witnesses and AT&T executives indicates that                   of

    this cost increase would be passed on to subscribers as higher prices. See, e.g., Tr. 708:2–14;

    PX0523-H. Professor Shapiro corroborated this testimony, estimating at least $285 million in

    annual harm to MVPD subscribers. Tr. 2255:7–22. Indeed, Professor Shapiro’s conservative

    estimate of consumer harm is likely to grow as AT&T sells more profitable multiproduct

    bundles, and pursues its strategy of wireless video over its 5G network, Tr. 2247:19–25,

    3381:24–3383:14, and as the importance of Turner content increases, Tr. 2256:21–2257:15. 5

          Reining in a “Proven Acquisition Driver.” HBO is an important competitive tool in the


4
    THE GODFATHER (Paramount Pictures 1972).
5
    See PCOL at V.C; PFOF at IV.B.4.
                                                     9
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    pay-TV marketplace, and AT&T describes it as a “proven acquisition driver.” Tr. 1521:20–23.

    Distributors use HBO to win or retain customers—i.e., to compete. AT&T itself sees HBO as a

    means to                   and                                              PX0261-010-11.

          Post-merger, AT&T would have the incentive and the ability to limit its rivals’ use of this

    “proven acquisition driver.” Distributors often need HBO’s approval to offer free HBO to

    customers or to use HBO content, characters, trademarks, or logos in advertising. Tr. 1458:1–

    25, 1497:25–1498:6. AT&T would have the power to withhold approvals post-merger, as well

    as add restrictions on the use of HBO in future contracts. Tr. 703:25–704:18. AT&T would

    have every reason to do so because the value of a lifetime customer of DirecTV is significantly

    greater than license fees that MVPDs currently pay for HBO. Tr. 705:8–9, 706:10–23. As

    HBO’s President acknowledged, “I have to do what my boss asks me to.” Tr. 1479:13–17. It

    would be in the combined AT&T-Time Warner’s economic interest to do so. 6

          From Friend to Foe. To date, Time Warner has supported entry by virtual MVPDs. Its

    strategy has been to                                                                      e.g., by



    PX0008-005. Turner even has sought to position itself as an “anchor tenant” for virtual

    MVPDs. Tr. 1065:12–1066:1. Time Warner, accordingly, has licensed its content to an array of

    virtual MVPDs, including Sony Vue, Dish Sling, Hulu, and YouTube TV. Tr. 583:6–19.

          Post-merger, control of Time Warner content would pass to a firm with very different

    competitive incentives, to the detriment of consumers. MVPDs like DirecTV have begun to

    lose customers to virtual MVPDs who offer more diverse packages, see, e.g., Tr. 3450:15–22,



6
    See PCOL at V.D; PFOF at IV.B.3.a.
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putting greater pressure on DirecTV margins, see Tr. 2262:24–2263:14. Some virtual MVPDs

are offering consumer-friendly “skinny” bundles that are less expensive than DirecTV’s base

packages, see Tr. 583:25–584:13, a threat to the traditional DirecTV business model.

      AT&T takes this threat to “the value of the bundle” seriously. Tr. 1615:6–25. When

content providers began licensing to Sling, DirecTV’s Chief Content Officer, Mr. York,

branded them “short-sighted whores to whomever is willing to write them a new check for their

content.” PX0042; Tr. 1657:5–1658:7. Furthermore, he complained that programmers had

“made their own bed” by “licensing their content to cheaper OTT options,” triggering a

“pricing war and race to the bottom.” Tr. 1700:1–9; PX0048. When Time Warner offered a new

feature for the online delivery of March Madness basketball games to the Apple TV device, Mr.

Stankey wrote that this “sets me on fire” because it “deteriorates the value of the bundle.” Tr.

1615:6–1616:3; PX0228. Mr. York had “the same visceral reaction,” id., and his team drafted

an email to Mr. Bewkes complaining about the “poor judgment” Time Warner showed by

“providing such rights to a company that to date has had a negative impact on your lucrative

Pay-TV business,” Tr. 1654:19–1655:4; PX0040. This was a threat to their “cash cow.”

      Post-merger, AT&T could and would do a lot more than complain. It would control Time

Warner and decide whether and on what terms virtual MVPDs would have Time Warner’s

content. By restricting access (e.g., refusing to license to a skinny bundle or setting prices

prohibitively high), AT&T could reduce the threat it faces from virtual MVPDs and prolong the

life of the traditional business model.

      These tactics are far from theoretical. Mr. Schlichting explained that the new firm could

“break[] our model” by forcing Sling to add more Turner networks to its skinny bundles, raising

Sling’s costs. Tr. 265:17–266:8, 268:9–23. The new firm could do these things because virtual

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MVPDs need Time Warner. As Mr. Martin wrote, Sling “is shit without Turner.” Tr. 575:22–

577:4; PX0004. In fact, AT&T’s corporate strategy group recognized that purchasing a content

player would give AT&T the ability to “[s]hape the ecosystem” enabling it to “reinforce [the]

pay TV bundle.” Tr. 1770:3–15; PX0184-005. “Reinforc[ing the] pay TV bundle” is another

way of saying “restricting competition for the benefit of the Pay TV bundle.”

      Moreover, AT&T would not have to act alone. As the two largest MVPDs (together,

nearly 50% of the traditional video distribution market, Tr. 860:9–11, 3035:24–3036:1, 3451:8–

10), Comcast and AT&T would share an incentive to stem the threat from virtual MVPDs. And,

post-merger, as the only two vertically integrated MVPDs, they would share the ability. They

don’t need to actually come to an illegal agreement under the antitrust laws to have this

anticompetitive effect. Comcast has already demonstrated a willingness to play hardball with

NBCU content to benefit Comcast’s own MVPD, e.g., “jamm[ing]” Sling’s skinny bundle with

more NBCU networks, Tr. 279:17-24, and increasing penetration requirements on RCN so that

it could no longer offer its low-cost product and Comcast could enter more easily with its own

bundle, Tr. 2920:6–2921:15. AT&T executives have taken note of Comcast’s incentives,

observing that, after the consent decree expires, “NBCU can choose not to license content

online to some players or may discriminate on price,” and “OVDs could be looking at different

terms for NBCU content.” PX0011; Tr. 1717:2–24.

      Together, the firms, both of whom are traditional MVPDs, would have a greater ability to

limit competition from new consumer-friendly virtual MVPDs by increasing content prices,

imposing more onerous contract terms, withholding content entirely, or other tactics. For

example, each of the two companies could decide not to grant a license to a new virtual MVPD

and “mutually forbear, without any communication between them.” Tr. 2264:14–2265:13. The

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    loss of content from two important programmers would neuter a new virtual MVPD. In the

    words of one Turner executive, losing both Turner and NBCU content would be a “recipe for []

    failure.” PX0036; Tr. 1851:16–1852:2. 7

                                               * * * * *

          Defendants call this case a “preposterous” “house of cards” that is “absurd” and “defies

    logic,” yet notwithstanding their certitude, they simultaneously suggest the Court invent a bevy

    of new legal barriers to the United States’ case, while asking it to flip the burden of proof on

    their efficiencies defense and remedy proposal. The law and the facts support neither their

    confidence nor their creativity.

          Rewrite of Merger Law. Defendants would have the Court rewrite merger law. They do

    not just engraft on Section 7’s text new elements like a safe harbor for “minor” price increases

    and a second market-definition element. They also reconceive the entire Section 7 enterprise,

    contending that the United States must show that harm is “likely” and quantify it precisely.

          Neither Section 7’s text, nor decades of precedents, demand such clairvoyance. “A

    predictive judgment, necessarily probabilistic and judgmental rather than demonstrable, is

    called for,” FTC v. H.J. Heinz Co., 246 F.3d 708, 719 (D.C. Cir. 2001) (quotation omitted), and


7
 A number of factors set the stage for coordination of this sort. First, the markets are
concentrated and barriers to entry are high. Tr. 988:14–22. Second, coordination would require
only Turner and NBCU and thus be “relatively easy to achieve in comparison with other
situations where you need many suppliers.” Tr. 2260:24–2261:20. Third, AT&T or Comcast
would quickly detect cheating by the other, e.g., observing what content a virtual MVPD offers
to subscribers, the regular communications between the companies’ executives, see, e.g., Tr.
1510:15–23, 1860:14–24, 1863:6–19; PX0048, or MFNs, PX0029. Fourth, AT&T’s Mr. York,
who will remain AT&T’s head of negotiations, in the past communicated with his counterparts at
competitors about business issues—in one instance, calling his competitor (“got it from the
horse’s mouth”) for information about its new competitive offering. Tr. 1673:19–1674:2;
PX0048; 2078:15–23, 2080:23–2081:16; PX0462.

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    there are “no definite quantitative or qualitative tests,” Brown Shoe, 370 U.S. at 321. A court’s

    task is not to calculate the precise quantum of harm but instead to assess whether the merger

    would give rise to a “reasonable probability” or an “appreciable danger” of harm. Section 7,

    enacted in 1914, and amended to apply specifically to vertical mergers in 1950, cannot

    plausibly demand such precision. 8

          Potshots at Professor Shapiro’s Model. Professor Carlton did not present an economic

    model of his own, or dispute the basic logic that vertical mergers can be anticompetitive as a

    result of raising rivals’ costs. Tr. 2521:9–19. Instead, he simply took potshots at inputs to

    Professor Shapiro’s model, used cherry-picked data provided by AT&T, and failed to address

    the many undisputed ways those inputs conservatively estimated actual incentives.

          To calculate the Subscriber Loss Rate (the loss of subscribers from a Turner blackout),

    Professor Shapiro used an empirical analysis of two long-term blackouts involving Viacom, as

    well as analyses used by Charter and Comcast in negotiations with distributors. Tr. 2235:1–

    2238:22. He also looked to a survey by Professor Hauser to corroborate this real-world

    evidence. Tr. 2237:23–2238:8. Although Professor Carlton argued for a lower rate, asserting

    that Professor Shapiro’s analysis of Suddenlink’s blackout of Viacom did not account for a

    change in industry trends, Tr. 2483:11–2484:22, Professor Shapiro examined the data and

    determined that no such change occurred. Tr. 3804:12–18, 3916:22–3917:7. Professor Carlton

    also relies on two short-term blackouts, but concedes that a long-term blackout is “the one you

    want to rely on.” Tr. 2478:15–2479:14, 2490:22–2491:13, 2524:19–2425–6.

          Professor Carlton’s criticism of the model’s diversion ratios (how many lost subscribers



8
    See PCOL at II, III, V.C-E, VI.D-F.
                                                    14
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    would switch to DirecTV) is untenable. He contends that Professor Shapiro has undercounted

    the “outside good” (the number of people who would drop pay-TV altogether in response to a

    blackout). But Professor Carlton’s calculation conflates the number of people without pay-TV

    with those who would drop it in response to a Turner blackout. Tr. 2505:5–2506:7. His mistake

    generates the illogical result that one in five subscribers who would cancel their subscription

    with a distributor specifically because it lost Turner networks would drop pay-TV entirely

    instead of switching to a provider that did carry Turner networks. Tr. 3807:10–3808:21.

          Although Professor Carlton claims that the profit margin in the model is too high, to

    reach that conclusion he cherry-picked the lowest monthly number from a set of three months,

    ignored higher figures from earlier and later months, and disregarded the fact that a three-month

    average produces a figure 28% higher than his preferred outlier. Tr. 3810:24–3812:23. He also

    ignores all of the ways that Professor Shapiro’s margin calculation conservatively understates

    the true value of subscribers AT&T would gain or retain. Tr. 3812:24–3821:23.

          Finally, defendants’ critique of Professor Shapiro’s model misses the bigger picture: the

    model is but one part of Professor Shapiro’s opinion, and his opinion is one part of the United

    States’ evidence. The model confirms, and builds on, the testimony of industry participants and

    economic logic, all of which points to higher costs for AT&T’s rivals and consumers. 9

          Retrospectives. Far from “ignoring” prior mergers, as defendants charge, Tr. 4046:14–23,

    Professor Shapiro explained why Professor Carlton’s conclusions about prior mergers were

    fundamentally flawed. Professor Shapiro looked at those mergers and concluded that the data

    was flawed, the market conditions were dissimilar, and consent decrees obscured the



9
    See PCOL at V.A-C; PFOF at IV.A-B.
                                                   15
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 competitive effects of the merger. Tr. 3829:4–3835:6. Moreover, the FCC reached the exact

 opposite conclusion as Professor Carlton, finding as part of its analysis of the Comcast/NBCU

 transaction that “evidence from past vertical transactions supports our conclusion that vertically

 integrating a video distributor and a national cable programmer leads to higher programming

 prices to rival MVPDs.” Comcast/NBCU FCC Order, Appx. B at ¶ 52.

       A Free Pass for “Minor” Price Increases. Defendants’ dismissal of Professor Shapiro’s

 predicted price increase as “minor”—based on disaggregating the harm to the level of the

 individual consumer—disregards law and fact. Section 7 focuses on a merger’s potential impact

 on “competition” (not on the individual consumer), and an annual harm of hundreds of millions

 of dollars plainly evidences a “substantial” distortion of the competitive process. See Brown

 Shoe, 370 U.S. at 324. The law does not require quantification of harm or recognize a safe

 harbor as the defendants seem to suggest. While Mr. Stephenson may dismiss AT&T’s past

 price increases as “inconsequential,” Tr. 3506:22–23, Turner itself “fights for every last penny,”

 Tr. 991:7–8, and the antitrust laws protect every last penny that competition saves consumers.

       Blackouts. Ignoring evidence from the industry—including testimony from defendants’

 own negotiators—defendants maintain that, even after the merger, a blackout would be

 “absurd” and the possibility of a blackout would not influence negotiations. Tr. 4043:3. 10 Mr.

 Breland, Turner’s former top negotiator, testified that blackouts are “a common occurrence” in

 the industry, Tr. 1025:11–1027:7, and the Court heard evidence about multiple blackouts,

 including blackouts by Turner, see, e.g., Tr. 1042:20–1043:20. Thus in Turner’s last negotiation

 with DISH, they prepared a “Plan A” of reaching a deal, and a “Plan B” to “go nuclear and


10
  If the Court decides defendants are judicially estopped from denying the bargaining model,
then it need not reach their disingenuous argument on this point.
                                                16
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 excl[usive] with DIRECTV.” PX0004.

         Moreover, defendants conveniently ignore the point that it is the threat of a blackout (the

 alternative to a deal—the Plan B) that influences leverage. Witnesses from MVPDs and virtual

 MVPDs underscored this reality with testimony about steps they take to prepare for blackouts,

 e.g., preparing marketing messages and analyzing likely consequences. See, e.g., Tr. 2111:8–

 2112:4, 246:10–20. Mr. Warren wrote that the threat of a blackout gives Turner “massive

 power” in negotiations, even before the merger. Tr. 1157:9–25, 1170:14–20. 11

         “Speculative, Unproven and Untested” Efficiencies. Defendants’ efficiencies (or, in

 their words, “synergies”) rests “solely on speculative, self-serving assertions,” FTC v. Univ.

 Health, Inc., 938 F.2d 1206, 1223 (11th Cir. 1991). Thus, they have not borne their legal burden

 to demonstrate their purported efficiencies are verifiable, merger-specific, and beneficial to

 consumers in the affected markets, FTC v. Sysco Corp., 113 F. Supp. 3d 1, 82 (D.D.C. 2015).

         Defendants’ evidence of claimed efficiencies was limited to the conclusory testimony of

 Mr. Stankey and a preliminary draft of the company’s estimates (Version 41). DX0658. The

 Court admitted Version 41, but only for the limited purpose of showing defendants’ state of

 mind. Tr. 3231:9–3232:23. Defendants offered nothing to substantiate Version 41 or to

 establish that any savings that AT&T actually realizes would be passed through to MVPD

 consumers. In fact, Mr. Stankey testified that he did not know the basis for many of the

 projections in the document, see, e.g., Tr. 3298:12–23, 3329:2–23, and suggested that the court

 should trust AT&T’s projections because it has done a number of mergers over the years. But

 defendants provided more than sparse documentation only for a single deal—AT&T’s



11
     See PFOF at IV.B.
                                                 17
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 acquisition of DirecTV—and that evidence reveals a very large miss on predicted revenue

 synergies. Tr. 3565:13–3566:7, 3682:10–14. 12

       The United States, in contrast, presented testimony from two experts on efficiencies. On

 verifiability, Mr. Quintero and Professor Athey found no support for the critical assumptions in

 Version 41. See, e.g., Tr. 3547:10–3549:7, 3737:4–3738:3. On merger-specificity, defendants

 claim many synergies without showing why they cannot be achieved without the merger. See,

 e.g., Tr. 3544:13–3545:11; Tr. 3720:4–3722:21; Tr. 3737:9–17. On consumer benefit, Mr.

 Quintero found no evidence that the claimed cost synergies involve variable costs, the type

 likely to be passed on to consumers. Tr. 3569:17–3570:4.

       Defendants try to excuse their failure of proof by re-assigning the burden, suggesting that

 the United States has the duty to quantify defendants’ claimed efficiencies. This argument at

 best disregards, and at worst misrepresents, basic Section 7 law that “[d]efendants bear the

 burden of demonstrating that their claimed efficiencies” meet the criteria of the efficiencies

 defense. Sysco, 113 F. Supp. 3d at 82. Defendants’ suggestion that the Court trust the assertions

 of AT&T managers, if taken seriously, “might well swallow the whole of Section 7,” because

 “management would be able to present large efficiencies based on its own judgment and the


12
  Defendants’ own executives do not even believe their efficiencies defense. For example, Mr.
Stankey characterizes “content intelligence” synergies as having no more than “specious buy-in”
from Time Warner executives, and says they “will require significant behavioral and incentive
work.” Tr. 3333:15–25; PX0072. He learned during the integration process that Time Warner
employees consider it “speculative, unproven and untested.” Tr. 3330:17–3331:6. He even
characterized one of the assumptions underlying a synergy calculation as a “SWAG” (politely, “a
guess” unsupported by “any empirical data”). Tr. 3325:16–3326:22. Similarly, projections based
on the creation of a programmatic advertising platform assume that the platform will attract other
MVPDs, but Mr. Stephenson called that just an “aspiration.” Tr. 3467:14–3468:9. Defendants
also promise to combine AT&T data with Turner advertising inventory. But Turner already has
plans that would realize 80% to 90% of the claimed synergies, Tr. 593:13–594:10; PX0067-006,
rendering them non-merger-specific, even if they were verifiable.
                                               18
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 Court would be hard pressed to find otherwise.” H&R Block, 833 F. Supp. 2d at 91. 13

       A Pledge of Good Behavior. Mr. Stephenson offered the self-serving pledge that Time

 Warner would be run independently so its content would not be used to benefit DirecTV. But

 the law holds that the arms of a corporation “pursue[] the common interests of the whole.”

 Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752, 769–70 (1984). Any other rule would

 undercut merger enforcement—after litigation management could easily reverse such promises,

 id. at 771–72 (“the parent may assert full control at any moment if the subsidiary fails to act in

 the parent’s best interests”), as Mr. Stankey imprudently conceded, Tr. 3271:19-3272:8.

       Moreover, the facts in this case are consistent with the law’s assumption that the arms of

 a corporation act as “a single actor.” Copperweld, 467 U.S. at 770. While claiming that Time

 Warner would be independent, Tr. 3502:5–3503:3, Mr. Stephenson acknowledged that all of

 AT&T’s business units will report to him, and he will be in charge of strategic planning for all

 of them, Tr. 3471:11–3472:8. As CEO, he will have the obligation to maximize shareholder

 value, and that his senior management’s pay will depend on overall shareholder value. Tr.

 3472:9–21. He effectively conceded that his company would not realize certain efficiencies if

 its units operate independently. Tr. 3502:3–3503:3. 14 Notably, both Professors Shapiro and

 Carlton agree that a firm with multiple divisions will act to maximize profits across them. Tr.

 2224:18–2225:1; Tr. 2525:19-25. In short, it would defy the facts, the law, and economic logic


13
  See PCOL at VI.E; PFOF at VI.A.
14
  NBCU’s Mr. Bond claimed that he does not consider Comcast’s interest in negotiating affiliate
agreements. He could hardly testify otherwise given that, for the past seven years, his company
has been operating under conditions imposed by the FCC’s Order and the Court’s antitrust
consent decree. Further, Mr. Bond and Comcast Cable’s Rigdon testified that Comcast’s CEO
has final approval authority for Comcast Cable’s agreements with other programmers and
NBCU’s agreements with other distributors, Tr. 866:14–22, Tr. 1986:18–1987:25, much as Mr.
Stephenson would for DirecTV and Turner.
                                               19
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 to conclude that Time Warner would not act in AT&T’s overall financial interest. 15

         An Appeal to Regulation. The FCC’s program-access rules will not prevent the merger’s

 likely anticompetitive effects. Over the past 15 years, the FCC has repeatedly found that its

 program-access rules do not prevent post-merger price increases and as a result adopted further

 merger remedies. See, e.g., Comcast/NBCU Order ¶ 49. Professor Shapiro relied on the FCC’s

 conclusion that those rules do not prevent this kind of harm. Tr. 2328:24–2329:6, 2390:12–16.

         The burden is on defendants to present evidence showing that regulation would forestall

 competitive harm, United States v. Aetna, Inc., 240 F. Supp. 3d 1, 47–48 (D.D.C. 2017), but

 they have offered nothing to establish that any offset for Professor Shapiro’s harm calculations

 is required, nor any calculation of such an offset. Defendants’ lone witness on this issue,

 Professor Katz, has no expertise on these rules, Tr. 2751, failed to perform a de novo analysis

 of the merger, Tr. 2648:17–25, and merely argued with the FCC’s interpretation of its own

 rules. His unsupported claim that the FCC would take action against the price increases

 Professor Shapiro predicts ignores both that the rules do not require that every video distributor

 pay the same price, see 47 C.F.R. § 76.1002(b)(1) note 2, and that when using a model in

 Comcast-NBCU “very similar to” the one Professor Shapiro is using here, the FCC itself

 determined the rules would not prevent the price increases predicted by the model.

         The FAANG Strawman. Facebook, Amazon, Apple, Netflix, and Google are successful

 innovative companies, no doubt. But, for all their discussion of these companies, defendants

 have not explained how their successes with disparate offerings in different markets are

 relevant to the Court’s analysis of the potential for harm in the markets at issue here. Professor



15
     See PCOL at VI.D; PFOF at IV.B.3.a.
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 Shapiro, using the well-established Hypothetical Monopolist Test, has demonstrated that the

 relevant product markets are Multichannel Video Distribution (which includes MVPDs and

 Virtual MVPDs) and All Video Distribution (which includes SVODs, as well as MVPDs and

 Virtual MVPDs). Only Google competes in Multichannel Video Distribution markets, and it

 has a small subscription base, Tr. 3455:7–11, and is dependent on Turner content like other

 distributors, Tr. 1172:9–1173:13. Amazon and Netflix have SVODs, but the evidence does not

 show that their presence would prevent harm in All Video Distribution markets. In fact, AT&T

 sees Facebook as a partner for the new firm, not a just a rival, with Mr. Stephenson already

 considering ways to work together. Tr. 3464:16–3465:22; PX0558. 16 Numerous industry

 participants testified that to the extent the FAANG firms provide video services, they are

 complements. Tr. 241:2-3; 860:24-861:3; 861:10-13; 83:16-18.

         Moreover, defendants seem to be asking the Court to find a new defense to an illegal

 merger: “we are getting killed by new competition in different markets.” To date, only one

 substantive exception to an anticompetitive merger has been accepted in the law, a “failing

 firm” defense. See Citizen Publ’g Co. v. United States, 394 U.S. 131, 138 (1969) (confining the

 failing-firm defense to “its present narrow scope.”). The United States urges the Court to reject

 Defendants’ efforts to invent a new defense that turns the antitrust laws on their head.

         A Self-Policed Promise. Turner’s unilateral arbitration offers have no place in the

 Court’s liability determination. If defendants could avoid liability with a unilateral “promise” to

 behave, the United States’ public-interest mandate would be supplanted by post-litigation

 assurances of private parties. See generally Mot. In Limine (Dkt. 85). The fact that Turner made



16
     See PFOF at IV.
                                                 21
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 its offers in response to this lawsuit, Tr. 1182:8–18, alone gives the Court reason to reject them,

 see Chicago Bridge & Iron Co. N.V. v. FTC, 534 F.3d 410, 435 (5th Cir. 2008) (probative value

 of evidence that “could arguably be subject to manipulation” by a defendant is “limited”).

 Relatedly, no relief can be premised on the unilateral promises of Turner, H & R Block, Inc.,

 833 F. Supp. 2d at 82 (holding inadequate that “defendants ha[d] pledged to maintain

 TaxACT’s current prices for three years”), which are not enforceable by this Court, and may

 not be enforceable at all as they lack consideration. 17 Rather, such relief would have to take the

 form of an enforceable decree of the Court. Finally, if the Court considers defendants’ proposed

 remedy in determining liability, defendants plainly have not met the burden of showing that the

 remedy would negate the anticompetitive effects of the merger. FTC v. Staples, Inc., 190 F.

 Supp. 3d 100, 137 n.15 (D.D.C. 2016). 18

                                            * * * * *

       The Court Should Order Structural Relief. While the Court has discretion to fashion



17
   Defendants’ arbitration offers may be revocable at Defendants’ discretion. While Defendants
have represented that the offers are “irrevocable” for seven years under “governing” New York
law, Defs.’ Opp. to Mot. in Limine at 4 (Dkt 83), some, if not all, of the arbitration offers appear
to be governed by Georgia law. First, because the offer letters themselves do not contain choice
of law provisions, they would be subject to conflict of law principles under which the state where
the offers originated and where Turner is headquartered (Georgia) may supply the governing
law. See, e.g., PX0437 (arbitration offer letter to Cox, sent from Georgia address); see also
PX0490 (same for Dish); DX0785 (same for NCTC). Second, the arbitration agreements
attached to the offer letters incorporate by reference any choice of law contained in Turner’s
affiliate agreements, and some of the affiliate agreements specify Georgia law in the relevant
clause. See, e.g., PX0491 ¶ 7 (proposed arbitration agreement, incorporating by reference any
choice of law provisions from Turner’s affiliate agreements);                               affiliate
agreement governed by Georgia law). Under Georgia law, Defendants may withdraw their
arbitration offers unless and until they receive consideration. See Amwest Sur. Ins. Co. v. RA-LIN
& Assocs., 455 S.E.2d 106, 109 (Ga. App. 1995). This uncertainty confirms the necessity of
court-ordered relief.
18
   See PCOL at VI.F; PFOF at IX.
                                                  22
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relief for a Section 7 violation, the appropriate relief here is structural—either a permanent

injunction against the proposed merger, or a targeted divestiture. The plain text of Section 7

reflects the judgment of Congress that structural relief is appropriate by providing that “No

person . . . shall acquire” the stock or assets of another where “the effect of such acquisition

may be substantially to lessen competition.” 15 U.S.C. § 18 (emphasis added). The remedial

provision states violations “shall be enjoined, or otherwise prohibit[ed].” 15 U.S.C. § 25

      A Permanent Injunction. Because the United States has demonstrated that the proposed

transaction would violate Section 7, the Court should enjoin this proposed acquisition. The

Supreme Court has held that upon finding liability a complete divestiture is the “preferred

remedy.” Am. Stores, 495 U.S. at 280–81. Consistent with this principle, the United States’

prayer for relief requests an injunction blocking the proposed acquisition. See Compl. ¶ 48(b).

Where, as here, the United States has established “a violation of law … all doubts as to the

remedy are to be resolved in its favor.” E. I. du Pont, 366 U.S. at 334. The presumption in favor

of the United States’ requested remedy reflects the government’s obligation “to obtain the relief

necessary to protect the public from anticompetitive conduct.” F. Hoffmann-La Roche Ltd. v.

Empagran S.A., 542 U.S. 155, 170 (2004).

      Alternative Structural Relief. While blocking AT&T’s acquisition of Time Warner in its

entirety would completely eliminate the threat to competition posed by the proposed

transaction; the Court may order alternative structural remedies if it found that doing so would

sufficiently reduce the risk of anticompetitive effects so as to redress the Section 7 violation.

The evidence demonstrated that the bulk (though not all) of the anticompetitive effects flow

from the combination of Turner with DirecTV. Accordingly, if the Court determines that it is

only the combination of DirecTV with Turner that tends to cause anticompetitive effects, the

                                                23
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 Court could tailor a remedy to redress this specific violation of Section 7 that would prevent the

 combination of those two assets within one corporate entity. See, e.g., United States v. Anthem,

 855 F.3d 345, 368 (D.C. Cir. 2017) (acknowledging the possibility of a narrow liability

 finding); FTC v. PepsiCo, Inc., 477 F.2d 24, 29 n.8 (2d Cir. 1973) (partial divestiture may be

 appropriate where “the offending line of commerce, if disassociated from the merged entities,

 can survive as a viable independent entity”). This could be accomplished in various ways: 19

     •   A targeted divestiture of Turner. The Court could issue an order allowing AT&T to
         acquire two of the three business units (Warner Brothers and HBO/Cinemax), but
         enjoining the acquisition of Turner. 20 Post-merger, AT&T could attempt to realize many
         of the purported benefits of vertical integration, Tr. 3396:12–24, while not being able to
         inflict the competitive harm that Turner would allow it to effect on competition.
     •   A targeted divestiture of DirecTV. The Court, alternatively, could issue an order requiring
         AT&T to divest DirecTV as a condition to acquiring all of Time Warner.

         Behavioral Relief Is Not an Appropriate Remedy Here. Behavioral relief is not

 appropriate because it would not be “effective to restore competition” and “redress the

 violation[]” that would follow from the proposed transaction. E. I. du Pont, 366 U.S. at 326.

 Behavioral remedies are disfavored in Section 7 cases because they “risk excessive government

 entanglement in the market,” Saint Alphonsus Med. Ctr.-Nampa Inc. v. Saint Luke’s Health

 Sys., Ltd., 778 F.3d 775, 793 (9th Cir. 2015), and “there are usually greater long term costs

 associated with monitoring the efficacy of a conduct remedy than with imposing a structural

 solution,” ProMedica Health Sys., Inc. v. FTC, 749 F.3d 559, 573 (6th Cir. 2014). While

 structural relief eliminates the risk of harm, behavioral relief assumes regulatory conditions can

 effectively constrain a business’s natural incentives to maximize profits. See generally, Makan


19
   DirecTV has conceded that the Court is authorized to order such targeted divestitures. Defs.’
Mot. at 3 (Dkt. 117) (recognizing the Court’s authority to “order AT&T to divest itself of
DIRECTV”).
20
   The Court might also consider enjoining AT&T from acquiring a controlling stake in Turner.
                                               24
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 Delrahim, Assistant Attorney General, Dep’t of Justice, Antitrust Division, Remarks at

 Competition and Deregulation Roundtable #2 (Apr. 26, 2018). Behavioral relief is also less

 effective at protecting competition than structural market-oriented remedies because it “can

 hardly be detailed enough to cover in advance all the many fashions in which improper

 influence [over the acquired company] might manifest itself.” E.I. du Pont, 366 U.S. at 334.

       The United States is not aware of any Section 7 case in which a court’s order of

 exclusively behavioral relief over the objection of the United States survived appellate review.

 See id. at 329–35 (vacating behavioral relief and ordering complete divestiture). Behavioral

 relief has instead been ordered in conjunction with structural relief and at the request of the

 United States. See, e.g., Ford Motor Co. v. United States, 405 U.S. 562, 575–78 (1972)

 (affirming conduct remedies “ancillary” to divestiture requested by the United States). This

 case should not depart from over 100 years of Clayton Act precedent to order behavioral relief

 over the United States’ objection. 21

                                            * * * * *

       The Court should find the effect of the merger may be substantially to lessen competition

 and enjoin it.


21
   The harm from the proposed transaction would not be remedied simply by adopting conditions
similar to those in the Comcast–NBCU consent decree. See PCOL at VII.E; PFOF at IV.D.
Among other reasons, AT&T competes nationally through its DirecTV service, and the United
States has accordingly predicted harm at least throughout the country. See, e.g., Tr. 2240:14–
2241:14. An arbitrator would have no natural benchmark to assess the “fair market value”—a
term not familiar to anyone in the industry—of Turner’s content because prices for Turner
content are predicted to increase nationwide. And for virtual MVPDs offering skinny bundles
(e.g., Dish Sling), an arbitrator’s use of inappropriate benchmarks could destroy their business
model by requiring broad inclusion of networks. Tr. 277:14–278:3, 280:3–281:3. Finally, as
explained in the PFOF and PCOL, Defendants’ unilateral arbitration offers also suffer from
numerous other shortcomings. PCOL at VII; PFOF at IX.

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Dated: May 8, 2018                                    Respectfully submitted,


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                                CERTIFICATE OF SERVICE


       I hereby certify that on May 8, 2018, I caused a true and correct copy of the foregoing to

be served upon the parties of record via the Court’s CM/ECF system.




Dated: May 8, 2018                           Respectfully submitted,



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